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              Exhibit I
                             Case 1:24-cv-05874-NRB                                                  Document 38-9                                Filed 07/18/25                         Page 2 of 3
SEC Form 4
                FORM 4                                            UNITED STATES SECURITIES AND EXCHANGE COMMISSION                                                                                              OMB APPROVAL
                                                                                                             Washington, D.C. 20549
                                                                                                                                                                                                       OMB Number:                       3235-0287
                                                                                                                                                                                                       Estimated average burden
                                                                      STATEMENT OF CHANGES IN BENEFICIAL OWNERSHIP                                                                                     hours per response:                       0.5
     Check this box if no longer subject to
X    Section 16. Form 4 or Form 5 obligations
     may continue. See Instruction 1(b).                                            Filed pursuant to Section 16(a) of the Securities Exchange Act of 1934
                                                                                           or Section 30(h) of the Investment Company Act of 1940

1. Name and Address of Reporting Person*                                              2. Issuer Name and Ticker or Trading Symbol                                            5. Relationship of Reporting Person(s) to Issuer

 Cohen Ryan                                                                           BED BATH & BEYOND INC [ BBBY ]                                                         (Check all applicable)
                                                                                                                                                                                       Director                    X         10% Owner
                                                                                                                                                                                       Officer (give title                   Other (specify
                                                                                                                                                                                       below)                      X         below)
 (Last)                     (First)                      (Middle)
 PO BOX 25250                                                                         3. Date of Earliest Transaction (Month/Day/Year)                                                                                       See Footnote
                                                                                      08/16/2022
 PMB 30427                                                                                                                                                                                                                   1

(Street)
                                                                                      4. If Amendment, Date of Original Filed (Month/Day/Year)                               6. Individual or Joint/Group Filing (Check Applicable Line)
 MIAMI                      FL                           33102                                                                                                                          Form filed by One Reporting Person
                                                                                                                                                                                 X      Form filed by More than One Reporting Person
 (City)                     (State)                      (Zip)

                                                               Table I - Non-Derivative Securities Acquired, Disposed of, or Beneficially Owned
1. Title of Security (Instr. 3)                                              2. Transaction     2A. Deemed              3.               4. Securities Acquired (A) or Disposed Of     5. Amount of             6. Ownership            7. Nature of
                                                                             Date               Execution Date,         Transaction      (D) (Instr. 3, 4 and 5)                       Securities               Form: Direct (D)        Indirect
                                                                             (Month/Day/Year)   if any                  Code (Instr.                                                   Beneficially Owned       or Indirect (I)         Beneficial
                                                                                                (Month/Day/Year)        8)                                                             Following Reported       (Instr. 4)              Ownership
                                                                                                                                                                                       Transaction(s) (Instr.                           (Instr. 4)
                                                                                                                                                          (A) or                       3 and 4)
                                                                                                                        Code     V       Amount                      Price
                                                                                                                                                          (D)

                                                                                                                                                                                                                                        By RC
Common Stock, $.01 par value(1)                                               08/16/2022                                  S                446,399             D      $18.6848(3)           7,333,601                    I              Ventures
                                                                                                                                                                                                                                        LLC(2)

                                                                                                                                                                                                                                        By RC
Common Stock, $.01 par value(1)                                               08/16/2022                                  S                812,448             D      $19.4817(4)           6,521,153                    I              Ventures
                                                                                                                                                                                                                                        LLC(2)
                                                                                                                                                                                                                                        By RC
Common Stock, $.01 par value(1)                                               08/16/2022                                  S               1,443,818            D      $20.7834(5)           5,077,335                    I              Ventures
                                                                                                                                                                                                                                        LLC(2)

                                                                                                                                                                                                                                        By RC
Common Stock, $.01 par value(1)                                               08/16/2022                                  S               1,059,021            D      $21.4209(6)           4,018,314                    I              Ventures
                                                                                                                                                                                                                                        LLC(2)

                                                                                                                                                                                                                                        By RC
Common Stock, $.01 par value(1)                                               08/16/2022                                  S                795,559             D      $22.7093(7)           3,222,755                    I              Ventures
                                                                                                                                                                                                                                        LLC(2)

                                                                                                                                                                                                                                        By RC
Common Stock, $.01 par value(1)                                               08/16/2022                                  S                169,335             D      $23.3293(8)           3,053,420                    I              Ventures
                                                                                                                                                                                                                                        LLC(2)
                                                                                                                                                                                                                                        By RC
Common Stock, $.01 par value(1)                                               08/16/2022                                  S                103,901             D      $24.8685(9)           2,949,519                    I              Ventures
                                                                                                                                                                                                                                        LLC(2)

                                                                                                                                                                                                                                        By RC
Common Stock, $.01 par value(1)                                               08/16/2022                                  S                104,077             D     $25.5918(10)           2,845,442                    I              Ventures
                                                                                                                                                                                                                                        LLC(2)
                                                                                                                                                                                                                                        By RC
Common Stock, $.01 par value(1)                                               08/16/2022                                  S                 65,442             D     $26.2713(11)           2,780,000                    I              Ventures
                                                                                                                                                                                                                                        LLC(2)

                                                                 Table II - Derivative Securities Acquired, Disposed of, or Beneficially Owned
                                                                            (e.g., puts, calls, warrants, options, convertible securities)
1. Title of Derivative   2.                 3. Transaction      3A. Deemed         4. Transaction    5. Number of          6. Date Exercisable and     7. Title and Amount of          8. Price of   9. Number of      10.              11. Nature
Security (Instr. 3)      Conversion         Date                Execution Date,    Code (Instr. 8)   Derivative            Expiration Date             Securities Underlying           Derivative    derivative        Ownership        of Indirect
                         or Exercise        (Month/Day/Year)    if any                               Securities            (Month/Day/Year)            Derivative Security (Instr. 3   Security      Securities        Form:            Beneficial
                         Price of                               (Month/Day/Year)                     Acquired (A) or                                   and 4)                          (Instr. 5)    Beneficially      Direct (D)       Ownership
                         Derivative                                                                  Disposed of (D)                                                                                 Owned             or Indirect      (Instr. 4)
                         Security                                                                    (Instr. 3, 4 and                                                                                Following         (I) (Instr. 4)
                                                                                                     5)                                                                                              Reported
                                                                                                                                                                                                     Transaction(s)
                                                                                                                                                                        Amount or                    (Instr. 4)
                                                                                                                           Date           Expiration                    Number of
                                                                                   Code     V        (A)      (D)          Exercisable    Date         Title            Shares


1. Name and Address of Reporting Person*
 Cohen Ryan

 (Last)                           (First)                         (Middle)
 PO BOX 25250
 PMB 30427

(Street)
                              Case 1:24-cv-05874-NRB                                              Document 38-9                               Filed 07/18/25                           Page 3 of 3
 MIAMI                          FL                              33102

 (City)                         (State)                         (Zip)


Relationship of Reporting Person(s) to Issuer


               Director                              X        10% Owner

               Officer (give title below)            X        Other (specify below)

                                                              See Footnote 1
1. Name and Address of Reporting Person*
 RC Ventures LLC

 (Last)                         (First)                         (Middle)
 PO BOX 25250
 PMB 30427

(Street)
 MIAMI                          FL                              33102

 (City)                         (State)                         (Zip)


Relationship of Reporting Person(s) to Issuer


               Director                              X        10% Owner

               Officer (give title below)            X        Other (specify below)

                                                              See Footnote 1
Explanation of Responses:
1. This Form 4 is filed jointly by RC Ventures LLC ("RC Ventures") and Ryan Cohen ("Mr. Cohen" and together with RC Ventures, the "Reporting Persons"). The Reporting Persons previously may have been deemed members of a Section
13(d) group that no longer beneficially owns more than 10% of the Issuer's outstanding shares of Common Stock ("Shares"). Each Reporting Person disclaims beneficial ownership of the securities of the Issuer reported herein except to the
extent of his or its pecuniary interest therein, and this report shall not be deemed to be an admission that any Reporting Person is the beneficial owner of such securities for purposes of Section 16 or for any other purpose.
2. Securities of the Issuer owned directly by RC Ventures. Mr. Cohen, as the Manager of RC Ventures, may be deemed to beneficially own the securities of the Issuer which are owned directly by RC Ventures.
3. Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $18.0600 to $19.0500, inclusive. The Reporting Persons undertake to provide the Issuer, any security holder of the Issuer or the
staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at each separate price within the range set forth in this footnote.
4. Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $19.0600 to $20.0100, inclusive. The Reporting Persons undertake to provide the Issuer, any security holder of the Issuer or the
staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at each separate price within the range set forth in this footnote.
5. Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $20.1200 to $21.1100, inclusive. The Reporting Persons undertake to provide the Issuer, any security holder of the Issuer or the
staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at each separate price within the range set forth in this footnote.
6. Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $21.1200 to $22.1100, inclusive. The Reporting Persons undertake to provide the Issuer, any security holder of the Issuer or the
staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at each separate price within the range set forth in this footnote.
7. Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $22.1300 to $23.1200, inclusive. The Reporting Persons undertake to provide the Issuer, any security holder of the Issuer or the
staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at each separate price within the range set forth in this footnote.
8. Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $23.1300 to $23.8400, inclusive. The Reporting Persons undertake to provide the Issuer, any security holder of the Issuer or the
staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at each separate price within the range set forth in this footnote.
9. Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $24.1500 to $25.1400, inclusive. The Reporting Persons undertake to provide the Issuer, any security holder of the Issuer or the
staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at each separate price within the range set forth in this footnote.
10. Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $25.1500 to $26.0600, inclusive. The Reporting Persons undertake to provide the Issuer, any security holder of the Issuer or the
staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at each separate price within the range set forth in this footnote.
11. Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $26.1500 to $26.4500, inclusive. The Reporting Persons undertake to provide the Issuer, any security holder of the Issuer or the
staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at each separate price within the range set forth in this footnote.

                                                                                                                                                 /s/ Ryan Cohen                                   08/18/2022
                                                                                                                                                 RC Ventures LLC, By: /s/ Ryan
                                                                                                                                                                                                  08/18/2022
                                                                                                                                                 Cohen, Manager
                                                                                                                                       ** Signature of Reporting Person                           Date
Reminder: Report on a separate line for each class of securities beneficially owned directly or indirectly.
* If the form is filed by more than one reporting person, see Instruction 4 (b)(v).
** Intentional misstatements or omissions of facts constitute Federal Criminal Violations See 18 U.S.C. 1001 and 15 U.S.C. 78ff(a).
Note: File three copies of this Form, one of which must be manually signed. If space is insufficient, see Instruction 6 for procedure.
Persons who respond to the collection of information contained in this form are not required to respond unless the form displays a currently valid OMB Number.
